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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION



    In re:
                                                                     Chapter 11
    HEALTH DIAGNOSTIC LABORATORY,
    INC., et al.,                                                    Case No. 15-32919 (KRH)

    Debtors,1                                                        (Jointly Administered)


    RICHARD ARROWSMITH, AS
    LIQUIDATING TRUSTEE OF THE HDL
    LIQUIDATING TRUST,
                                                                     Adversary Proceeding No. _____
    Plaintiff,

    v.

    LEMBERG LAW, LLC, EILEEN
    ARENDT, LINDA CANCEL, EMILY
    REED, LEAH VOLESKY, CYNTHIA
    PORTER, JOLENE WIXOM, DANI
    SCHURGER, LARA TEBO, TARA
    ROECKS, KELLY PORTER, TERRI
    BARBANO, CALICO SVENDSEN,
    NICOLETTE CALDWELL, LORINNET
    CHANCE, TONI MERRIOTT, TIFFANIE

1
             The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Health
             Diagnostic Laboratory, Inc. (0119), Central Medical Laboratory, LLC (2728), and Integrated Health Leaders,
             LLC (2434).


    Cullen D. Speckhart (VSB No. 79096)                        Richard S. Kanowitz (admitted pro hac vice)
    WOLCOTT RIVERS GATES                                       Evan M. Lazerowitz (pro hac vice to be filed)
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                                                               Email: rkanowitz@cooley.com
    Counsel to Richard Arrowsmith, Liquidating Trustee         Email: elazerowitz@cooley.com
    of the HDL Liquidating Trust
                                                               Counsel to Richard Arrowsmith, Liquidating Trustee,
                                                               and the Liquidating Trust Oversight Committee.
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 PAPICH, CHRISTINA LAGROU,
 BARBARA K. MARKS, KIMBERLY
 DIXON, KORYNNE BRAY, JOSEPH
 DELFINO, KIRK D. MILLER, P.S.,
 KRISTIN WICKSTROM, AND
 NORTHWEST HEALTH SUMMIT, PS
 D/B/A WOMEN’S HEALTH
 CONNECTION, PS,

 Defendants.


                                    VERIFIED COMPLAINT

        Plaintiff Richard Arrowsmith, in his capacity as Liquidating Trustee of the HDL

Liquidating Trust (the “Plaintiff” or the “Liquidating Trustee”), appointed pursuant to the

confirmed Modified Second Amended Plan of Liquidation (the “Plan”) of Health Diagnostic

Laboratory, Inc., and its affiliated debtors and debtors in possession (the “Debtors,” or “HDL”)

in these jointly administered bankruptcy cases (the “Chapter 11 Cases” or the “Cases”), by his

undersigned counsel, hereby files this Verified Complaint (the “Complaint”), against the above-

captioned defendants (the “Defendants”), and respectfully alleges as follows:

                               I.      NATURE OF THE ACTION

        1.      Plaintiff brings this action against the Defendants to, among other relief sought,

obtain an injunction enjoining the Defendants from interfering with HDL’s collection of accounts

receivable that constitute estate assets and a judgment holding the Defendants in contempt for

willfully violating the automatic stay found in section 362(a) of Title 11 of the United Stated Code

(the “Bankruptcy Code”).

        2.      Plaintiff also seeks related declaratory relief confirming that the accounts

receivable constitute estate assets and are “debts” that are owed to Plaintiff, that alleged prepetition

release language is inoperative, and that Plaintiff is not required to cease and desist from collecting




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the accounts receivable. In the alternative, Plaintiff seeks to avoid the alleged prepetition releases

as fraudulent transfers.

                                         II.     PARTIES

       3.      Plaintiff is the Liquidating Trustee and estate representative of the Debtors.

       4.      Lemberg Law, LLC (“Lemberg Law”) is a Connecticut limited liability company

with its principal place of business in Wilton, Connecticut.

       5.      Sergei Lemberg, Esq., is a member of Lemberg Law.

       6.      Upon information and belief, defendants Eileen Arendt, Linda Cancel, Emily Reed,

Leah Volesky, Cynthia Porter, Jolene Wixom, Dani Schurger, Lara Tebo, Tara Roecks, Kelly

Porter, Terri Barbano, Calico Svendsen, Nicolette Caldwell, Lorinnet Chance, Toni Merriott,

Tiffanie Papich, Christina Lagrou, Barbara K. Marks, Kimberly Dixon, Korynne Bray, Joseph

Delfino, and Kristin Wickstrom (the “Consumers”) are individuals whose healthcare providers

submitted requisitions for certain laboratory tests on patient blood samples to HDL for analysis.

       7.      Kirk D. Miller, P.S. (“Miller”) is a Washington professional services corporation

with its principal place of business in Spokane, Washington.

       8.      Northwest Health Summit, PS d/b/a Women’s Health Connection, PS (“Women’s

Health”) is a Washington professional services corporation with its principal place of business in

Spokane Valley, WA.

                             III.    JURISDICTION AND VENUE

       9.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 28

U.S.C. § 1334(b).

       10.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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       11.     This matter is a core proceeding within the meaning of 28 U.S.C. § 157 (b)(2)(A),

(G), (H), and (O).

       12.     The predicates for the relief requested herein are Bankruptcy Code sections 105(a),

362(a), 362(k), 544(b), 548, and 550, and Rules 7001 and 7065 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

                               IV.      STATEMENT OF FACTS

       A.      Chapter 11 Cases

       13.     On June 7, 2015 (the “Petition Date”), each of the Debtors filed with the Court its

respective voluntary petition for relief under chapter 11 of the Bankruptcy Code, commencing the

above-captioned Chapter 11 Cases.

       14.     After the Petition Date, the Debtors continued to operate and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On June 9, 2015, the Court entered an order authorizing the joint administration of these Chapter

11 Cases [Docket No. 42].

       15.     On June 16, 2015, the United States Trustee for the Eastern District of Virginia (the

“U.S. Trustee”) appointed the statutory committee of unsecured creditors (the “Committee”).

       16.     On May 12, 2016, this Court entered an order confirming the Plan (the

“Confirmation Order”). Pursuant to the Plan and 11 U.S.C. § 1123, the Liquidating Trustee is

the successor, for all purposes, of the Debtors and the Committee.

       B.      The HDL Sale

       17.     On June 29, 2015, the Debtors filed the Motion of Debtors and Debtors in

Possession for Entry of an Order (I) Approving the Strategic Transaction Bidding Procedures, (II)

Scheduling Bid Headlines and the Auction, (III) Approving the Form and Manner of Notice




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Thereof and (IV) Granting Related Relief [Docket No. 176] setting forth proposed bidding

procedures for selling substantially all of the Debtors’ assets (the “Bidding Procedures”).

       18.     On July 15, 2015, the Court entered an order approving the Bidding Procedures.

       19.     In accordance with the Bidding Procedures, on September 10, 2015, the Debtors

conducted an auction for the sale of substantially all of the business assets of HDL (the “HDL

Sale”) and selected True Health Diagnostics, LLC (“True Health”) as the successful bidder for

such assets.

       20.     On September 17, 2015, the Court entered the Order (I) Approving Asset Purchase

Agreement and Authorizing the Sale of Assets of the Debtors Outside the Ordinary Course of

Business, (II) Authorizing the Sale of Assets Free and Clear of All Liens, Claims, Encumbrances

and Interests, (III) Authorizing the Assumption and Sale and Assignment of Certain Executory

Contracts and Unexpired Leases and (IV) Granting Related Relief [Docket No. 512] (the “Sale

Order”) in which the Court approved the terms of the HDL Sale, including the terms of the Asset

Purchase Agreement with True Health (the “APA”). A true and correct copy of the APA, without

exhibits and schedules, is attached hereto as Exhibit A, and a true and correct copy of the Sale

Order is attached hereto as Exhibit B.

       21.     The HDL Sale closed on September 29, 2015 (the “Closing Date”).

       22.     Pursuant to the APA, among the assets purchased by True Health were accounts

receivable aged less than 180 days as of the Closing Date (the “Purchased Receivables”).

       23.     Pursuant to the APA, including without limitation Schedule 2.2(m), HDL retained

ownership of accounts receivable aged 180 days or more as of the Closing Date (the “Excluded

Receivables”). A true and correct copy of Schedule 2.2(m) of the APA is attached hereto as

Exhibit C.




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       24.     The Excluded Receivables include, among other things, amounts owed to HDL by

patients for laboratory testing HDL performed.

       25.     The amounts owed to HDL by patients for laboratory testing HDL performed are

based on valid contracts or business expectancies (such contracts or business expectancies,

together with the obligations, the “Patient Obligations”).

       26.     The APA defined the Excluded Receivables as “properties . . . of [the Debtors].”

See Ex. B, § 2.1.

       27.     Millions of dollars of Excluded Receivables remain outstanding.

       28.     The consideration for the HDL Sale consisted of, among other things, $27,100,000

less the Good Faith Deposit and any Closing AR Adjustment (each, as defined in the APA), the

assumption of certain assumed liabilities, and the execution and delivery by True Health of a

promissory note.

       29.     Prior to the Closing Date, HDL offered True Health the opportunity to purchase the

Excluded Receivables and disclosed to True Health its intention to pursue collection of the

Excluded Receivables.

       30.     True Health did not accept HDL’s offer to purchase the Excluded Receivables.

       31.     The HDL Sale closed without True Health acquiring any rights in the Excluded

Receivables.

       32.     In the Sale Order, the Court found that True Health was not purchasing the

Excluded Receivables, and enjoined “[a]ll persons holding or asserting any Liens, Claims,

Encumbrances and Interests in the Excluded [Receivables]” from asserting or prosecuting claims

against the Excluded Receivables. See Ex. B, ¶ 33.




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       33.     The Court also found that the Purchased Receivables “constitute[d] property of the

Debtors’ estates and title thereto is vested in the Debtors’ estates within the meaning of section

541(a) of the Bankruptcy Code.” Id. ¶ C.

       34.     As recognized by the Court in the Sale Order, the Excluded Receivables are

property of HDL’s bankruptcy estate pursuant to section 541 of the Bankruptcy Code.

       C.      Collection of the Excluded Receivables

       35.     On or about July 28, 2015, HDL entered into an Agreement for Services with

Accelerated Receivables Management, Inc. (“ARM”), to pursue collection of certain account

receivables owned by HDL.

       36.     Since that time, estate representatives have enlisted two additional collection

agencies, Monterey Financial Services (“Monterey”) and Remex, Inc (“Remex,” and together

with ARM and Monterey, the “Collectors”). True and correct copies of the agreements executed

between HDL and the Collectors (the “Collection Agreements”) are attached hereto as

Exhibit D.

       37.     The Collection Agreements constitute valid and enforceable contracts between the

Collectors and HDL.

       38.     The Collectors are debt collectors and not “professional persons” under Bankruptcy

Code section 327(a).

       39.     The Excluded Receivables contain at least four classifications of accounts, which,

by category, may be described as (1) receivables due from patients who received monies in the

form of reimbursement from their insurance carriers (the “Paid to Patient Receivables”); (2)

receivables due from patients who are solely responsible to pay for laboratory testing they received

from HDL; (3) receivables due from patients who are responsible to pay for laboratory testing




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because they have not yet met their insurance deductibles; and (4) receivables that are due on

account of insurance carrier denials.

          40.   At the present time, the Liquidating Trustee only intends to pursue Paid to Patient

Receivables pending further analysis and consideration by the HDL Liquidating Trust Oversight

Committee.

          41.   Since their engagement, the Collectors have transmitted notices to certain patients

for whom HDL had performed laboratory testing. No lawsuits have been commenced against any

patient in respect of any of the Excluded Receivables.

          42.   In addition, after the HDL Sale, True Health collected more than $10 million worth

of Purchased Receivables.

          D.    The True Health Litigation

          43.   On or about January 5, 2016, True Health sent letters to HDL and ARM demanding

that HDL require ARM to cease and desist from all collection efforts with respect to the Excluded

Receivables (the “Cease and Desist Letters”).

          44.   In addition, True Health and its Vice President for Sales, Jeffrey P. “Boomer”

Cornwell, circulated via electronic mail notices to physicians, groups of physicians, and/or related

entities stating that collection letters sent by ARM to patients were a fraudulent attempt to collect

funds from patients and that such collection efforts were in direct violation of HDL’s stated billing

policy.

          45.   In response to True Health’s interference with ARM’s collection efforts, on

February 2, 2016 HDL filed an adversary proceeding in this Court, Case Number 16-03011-KRH,

against True Health and Mr. Cornwell (the “True Health Litigation”) seeking, among other




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things, an injunction enjoining True Health and Mr. Cornwell from interfering in HDL’s collection

efforts and holding them in contempt for willfully violating the automatic stay.

       46.     On February 5 and February 12, 2016, the Court entered orders granting temporary

and preliminary injunctions (the “Injunction Orders”), respectively, enjoining True Health and

Cornwell from taking any actions to interfere with HDL’s collection of the Excluded Receivables.

True and correct copies of the Injunction Orders are attached hereto as Exhibit E.

       47.     In the Injunction Orders, the Court held that attempts to interfere with the

Collectors’ efforts to collect the Excluded Receivables constituted willful violations of the

automatic stay.

       48.     In reaching this conclusion, the Court implicitly found that the Excluded

Receivables are estate assets because the underlying adversary complaint requested declaratory

relief under section 362(a)(3) of the Bankruptcy Code, which prohibits “any act to obtain

possession of property of the estate or of property from the estate or to exercise control over

property of the estate.” 11 U.S.C. § 362(a)(3).

       49.     The Court’s authority to grant injunctive relief and bar third parties from interfering

with the Collectors’ efforts was necessarily predicated upon a finding that the Excluded

Receivables are property of HDL’s bankruptcy estate.

       50.     The True Health Litigation is still pending.

       E.      Third Party Interference with Estate Collection Efforts

       51.     Willful violations of the automatic stay occurred at the orchestration of parties who

insist upon frustrating the work of the Collectors with respect to the Excluded Receivables despite

the Court’s unambiguous prior directive in the Injunction Orders.




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       52.      Upon information and belief, Lemberg Law, which represents all of the Consumers

besides Kristin Wickstrom (“Wickstrom”), has threatened to sue the Collectors for their activities

as debt collectors for the estates and has dispatched correspondence designed to hamper the

Liquidating Trustee’s legitimate efforts to collect property of the estate consistent with his duties

under the Plan.

       53.      Lemberg Law has also used physician practices, including Women’s Health, as a

means to amass more clients and to further interfere with collections of receivables that constitute

property of HDL’s estate. An example of solicitation material aimed to drive patients to Lemberg

Law, as posted on the website of the Women’s Health in Spokane, Washington, is attached hereto

as Exhibit F.

       54.      The Liquidating Trustee is also aware that various and potentially unknown parties,

who may be associated with Lemberg Law, have issued consumer complaints to the Attorney

General of the State of Washington and the Attorney General of the State of Texas, and have

further made written advances to the U.S. Trustee enclosing copies of letters directed to Monterey

(the “Patient Letters”). A representative sample of the Patient Letters, believed to be prepared by

Lemberg Law, is attached hereto as Exhibit G.

       55.      In response to Lemberg Law’s attempts to interfere with the collection of the

Excluded Receivables, on June 3, 2016, the Liquidating Trustee filed a Motion to (A) Enforce the

Automatic Stay to Certain Accounts Receivable Constituting Property of the Estate; (B) Extending

the Automatic Stay to Collection Entities Acting at the Aid and Direction of the Liquidating Trustee

for Purposes of Collecting Such Property for the Benefit of Creditors; and (C) Granting Related

Relief under 11 U.S.C. § 105 (the “Motion to Enforce and Extend”) [Docket No. 1145].




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       56.     In the Motion to Enforce and Extend, the Liquidating Trustee sought an order

enforcing the automatic stay to the Excluded Receivables, and to extend the automatic stay to the

Collectors, to protect the Collectors from threat of suit and other interference.

       57.     After the Liquidating Trustee filed the Motion to Enforce and Extend, Kristin

Wickstrom (“Wickstrom”) filed an action on June 8, 2016, entitled Wickstrom v. Monterey

Financial Services, Inc., Case No. 2:16-cv-00197-SAB (the “Wickstrom Complaint”), pending

in the United States District Court for the Eastern District of Washington. A copy of the

Wickstrom Complaint is attached hereto as Exhibit H.

       58.     Upon learning of the Wickstrom Complaint, counsel for the Liquidating Trustee

contacted Wickstrom’s counsel, Miller, indicating that Monterey was employed by the Liquidating

Trustee and sought to collect property of the estate.

       59.     Counsel for the Liquidating Trustee transmitted the Motion to Enforce and Extend

to Wickstrom’s counsel, among other relevant documents including the Injunction Orders. Counsel

for the Liquidating Trustee additionally requested that the Wickstrom Complaint be dismissed as

representing a willful violation of the automatic stay

       60.     Miller responded that he did “not intend to delay in [his] prosecution of the federal

lawsuit against Monterey unless and until [he is] compelled to do so by court order.”

       61.     The Liquidating Trustee supplemented the Motion to Enforce and Extend to

specifically address the Wickstrom Complaint and requested that the Court enter an order

protecting the Excluded Receivables and the Collectors from the disruptive acts of Wickstrom and

her counsel.

       62.     At a hearing held on June 21, 2016, the Court approved the Motion to Enforce and

Extend over the Consumers’ objections. The Court extended the automatic stay, but only did so




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in an abundance of caution, holding that “I don’t think I need to extend it, because [the Collectors

are] agents of the estate collecting property of the estate, but to the extent there’s any doubt it

extends to the collection agencies.”

       63.     On July 1, 2016, the Court entered an order granting the Motion to Enforce and

Extend (the “Stay Order”). A copy of the Stay Order is attached hereto as Exhibit I.

       64.     The Stay Order enforced and extended the automatic stay of 11 U.S.C. § 362 “to

protect the Excluded Receivables from any and all interference and assertion of control by any

party other than the Liquidating Trustee.” The Stay Order also protected the “Collectors from any

and all claims, threats, and actions initiated against the Collectors in respect of the Collectors’

work in assist[ing] . . . the Liquidating Trustee.”

       F.      The Underlying Debt

       65.     The Consumers are all patients whose healthcare providers submitted requisitions

for laboratory tests on patient blood samples to HDL for analysis.

       66.     Upon information and belief, most of the accounts assigned to the Collectors

represent amounts owed by the Consumers to HDL as Paid to Patient Receivables.

       67.     Almost all of the Consumers were patients of Women’s Health in Spokane, WA.

       68.     The Consumers have argued that the Liquidating Trustee is not entitled to collect

the Excluded Receivables because of certain statements allegedly made on behalf of HDL prior to

the Petition Date in the company’s marketing materials.

       69.      Based upon these statements, the Consumers allege that there is no “debt” to be

collected under the provisions of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692-1692p

(the “FDCPA”).




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       70.     Upon information and belief, the marketing materials were provided by sales

representatives employed by HDL’s outside marketing agency directly to physicians, many of

whom derived substantial remuneration based on the grossly out-of-market commissions and are

now employed by True Health.

       71.     According to the Consumers, the Liquidating Trustee’s ability to collect the

Excluded Receivables is foreclosed by the following statement, as appears in the referenced

marketing materials (the “Alleged Releases”): “[f]or patients with PPO/POS/HMO insurance, if

it turns out your insurance company does not cover a specific test, HDL Inc. assumes all the risk.”

       72.     However, the same marketing materials also state: “IMPORTANT: If your

insurance company sends a check directly to you, rather than HDL, Inc., please sign the back of

the check, write, ‘Pay to the order of HDL, Inc.’ and forward the check along with the ‘Explanation

of Benefits’ to the address at the right.”

       73.     Other marketing materials such as the pricing overview attached hereto as Exhibit

J (the “Pricing Overview”) also indicate four instances in which patients of HDL would be

responsible for paying for services:

               1) If HDL, Inc. learns that payment for services was sent directly
                  to the patient and not forwarded to our billing department as
                  requested above.

               2) If the patient does not have medical insurance or if the patient
                  is considered “self-pay.”

               3) If a patient has an HSA/HRA with a high deductible, he or she
                  may choose a self-pay option and therefore would receive a
                  bill.

               4) If HDL, Inc. has filed claims with the patient’s insurance
                  company and the patient has NOT met the patient contribution
                  requirements (i.e. deductibles, co-pays, co-insurance, etc.) for
                  laboratory services.




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          74.   At the time lab tests were ordered for each Consumer, the healthcare provider filled

out an HDL lab requisition request (the “Lab Requisitions”) which was to be signed by the patient.

The Lab Requisitions included a section entitled “Release and Assignment of Benefits,” which

stated as follows:

                As a courtesy, HDL Inc. will make every reasonable effort to obtain
                reimbursement for ordered tests. I authorize HDL Inc. to release to
                Medicare, its carriers, and any insurance carrier or health plan
                providing medical benefits to me, any information that may be
                needed for claim purposes. . . . Bill to insurance: I understand that
                if my insurance company pays me directly for services rendered by
                HDL Inc., I am responsible for forwarding such payment to HDL
                Inc. I also understand that I am responsible for any
                deductible/copayment, as required by my plan. Important:
                Insurance regulations require HDL Inc. to seek payment.

          75.   The language in the marketing materials, the Pricing Overview, and the Lab

Requisitions clearly indicate that HDL never intended to waive its right to collect the Excluded

Receivables.

          G.    HDL’s Insolvency

          76.   At all relevant times, HDL was insolvent, had unreasonably small capital for its

business, and incurred or should have known it was incurring debts that it lacked the ability to pay.

          77.   From October 2009 onward, HDL was incurring millions of dollars in unrecognized

liabilities to the government, private payers, and unsecured creditors, far beyond the value of its

assets.

          78.   Although HDL appeared to be generating huge revenues and profits, which it freely

distributed to its shareholders, HDL failed to account for the catastrophic liabilities its improper

business practices were creating. Once HDL was forced to stop these improper practices, it

experienced a predictable and precipitous drop in revenues.




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       79.     From the outset, HDL failed to account for these large and growing liabilities,

together with millions of dollars owed to other unsecured creditors, or to reflect them on its

financial statements at the time it made distributions to shareholders. Had HDL reflected these

liabilities on its financial statements, those financial statements would have shown that HDL was

insolvent at all relevant times. HDL’s audited financial statements, therefore, failed to reflect the

true state of HDL’s business.

       80.     Upon information and belief, in January 2014, HDL was experiencing cash flow

problems and was in danger of violating a bank covenant. In response, several of HDL’s officers

and directors made short-term loans to HDL, but HDL’s liquidity problems, financial distress, and

insolvency did not cease, and in fact, became even worse.

       81.     At all relevant times, HDL was insolvent and the fair amount of its liabilities

exceeded the fair value of its assets. In addition, given the large and growing liability exposure

that HDL did not acknowledge, at all relevant times, HDL had unreasonably small capital with

which to conduct its business, and incurred or should have known it was incurring debts that it

lacked the ability to pay as they came due.

       82.     At the time of its June 7, 2015 bankruptcy filing, HDL itself listed approximately

$108 million in scheduled claims. Although grossly understated, that figure was well in excess of

the value of HDL’s assets. Total filed claims in the HDL bankruptcy proceeding vastly exceed the

scheduled amount and are approximately $3 billion, dwarfing the value of HDL’s assets and

underscoring the depth of HDL’s insolvency.

       83.     Four creditors alone, the U.S. Government and three private payers, collectively

account for more than $325 million in liabilities, all arising from HDL’s improper business

practices. These creditors are (1) the U.S. Department of Justice, with a claim of $94 million; (2)




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United Healthcare, with claims of $96 million; (3) Aetna, with claims totaling $77 million; and (4)

Cigna, with claims of $59 million.

                                 V.      CLAIMS FOR RELIEF

                                         COUNT I
              (Finding of Contempt – Bankruptcy Code Sections 105(a) and 362(a))

        84.     Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 83 of this Complaint as though fully set forth herein.

        85.     Section 105(a) of the Bankruptcy Code authorizes the Court to issue “any order,

process, or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

Code].” 11 U.S.C. § 105(a).

        86.     Section 362(a) of the Bankruptcy Code operates as a stay that protects HDL and

property of its estate.

        87.     Relief under sections 105(a) and 362(a) is particularly appropriate in this case

where Plaintiff requires relief that is necessary in order to preserve the value of HDL’s estate.

        88.     The Defendants have willfully violated the automatic stay imposed under 11 U.S.C.

§ 362 and unjustifiably interfered with the Collection Agreements and the collection of the

Excluded Receivables, colluded with each other and numerous physicians to convince patients not

to pay amounts rightfully owed to HDL, and made numerous false statements regarding HDL’s

right to collect the Excluded Receivables and Plaintiff’s employment of the Collectors.

        89.     Pursuant to the automatic stay imposed by the Bankruptcy Code, and as further

evidenced by the Stay Order, the Defendants were and are prohibited from taking any actions that

improperly interfere with property of HDL’s estate, including the Excluded Receivables.




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       90.     The Defendants’ actions, including the filing of the Wickstrom Complaint,

constitute attempts by the Defendants to interfere with Plaintiff’s rights to pursue collection of the

Excluded Receivables, which are property of HDL’s estate.

       91.     The Defendants’ actions have caused and continue to cause irreparable harm by

preventing Plaintiff from recovering property of HDL’s estate.

       92.     The likelihood of the irreparable harm to Plaintiff outweighs any harm to the

Defendants.

       93.     Accordingly, Plaintiff is entitled to entry of an order holding the Defendants in

contempt of court for violating the automatic stay until such time as the Defendants cease

interfering with the collection of the Excluded Receivables and all other damages sustained by

Plaintiff are reimbursed by the Defendants.

                                          COUNT II
                             (Tortious Interference with Contract)

       94.     Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 93 of this Complaint as though fully set forth herein.

       95.     As evidenced by their receipt of the Motion to Enforce and Extend, the Defendants

have actual knowledge of the Collection Agreements.

       96.     Despite not being party to the Collection Agreements, the Defendants have

intentionally interfered with such contracts by demanding that the Collectors immediately cease

and desist the collections efforts that the Collectors are contractually obligated to perform.

       97.     Despite not being a party to the Patient Obligations, Defendants have interfered

with the Patient Obligations by demanding that the Collectors immediately cease and desist efforts

to collect the amounts owed to Plaintiff.




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       98.     Despite not being parties to either the Collection Agreements or any of the Patient

Obligations, the Defendants have intentionally interfered with the Collection Agreements and

many of the Patient Obligations by directing physicians, groups of physicians, and/or related

entities to instruct their patients not to respond or comply with any attempts by the Collectors to

collect on the Excluded Receivables.

       99.     The Defendants’ actions in interfering with the Collection Agreements and

preventing collection of the Excluded Receivables have caused, and continue to cause, significant

and irreparable harm to HDL’s estate.

       100.    Plaintiff has no adequate remedy at law.

       101.    As a result, Plaintiff is entitled to an injunction enjoining the Defendants from

tortiously interfering with the Collection Agreements and the efforts of Plaintiff to collect the

Excluded Receivables.

       102.    Plaintiff requests that the Court enter orders temporarily, preliminarily, and

permanently enjoining the Defendants from interfering with the Collection Agreements and the

efforts of Plaintiff to collect the Excluded Receivables.

                                     COUNT III
 (Declaratory Relief – Bankruptcy Code Sections 105(a) and 362(a) and 28 U.S.C. § 2201)

       103.    Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 102 of this Complaint as though fully set forth herein.

       104.    This is a claim for declaratory relief and there exists a substantial controversy

between Plaintiff and the Defendants of sufficient immediacy and reality to warrant the issuance

of declaratory judgment under 28 U.S.C. § 2201.




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          105.   Section 105(a) of the Bankruptcy Code authorizes the Court to issue “any order,

process, or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

Code].” 11 U.S.C. § 105(a).

          106.   Section 362(a) of the Bankruptcy Code operates as a stay that protects Plaintiff and

property of HDL’s estate.

          107.   Relief under sections 105(a) and 362(a) is particularly appropriate in this case

where Plaintiff requires relief that is necessary in order to preserve the value of the estate.

          108.   The Excluded Receivables are property of HDL’s bankruptcy estate pursuant to

section 541 of the Bankruptcy Code.

          109.   As set forth herein, the Alleged Releases did not operate to waive Plaintiff’s right

to collect upon the Excluded Receivables.

          110.   The Excluded Receivables constitute “debt” as that term is defined in the FDCPA,

15 U.S.C. § 1692a(5).

          111.   The Defendants’ actions have caused real and significant harm to HDL’s estate

because they interfere with and pose a substantial risk to Plaintiff’s ability to recover the Excluded

Receivables, which are valuable estate assets.

          112.   The Defendants also have made false and misleading statements regarding the

Collectors and their authority to collect the Excluded Receivables on behalf of Plaintiff, which are

intended to convince numerous patients to refuse to return funds rightfully owed to HDL’s estate.

          113.   If the Defendants are allowed to interfere with Plaintiff’s collection of its interests

in the Excluded Receivables, HDL’s estate and creditors will suffer the loss of significant estate

assets.




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       114.    Accordingly, Plaintiff respectfully requests that this Court enter a declaratory

judgment that (i) the Excluded Receivables are property of HDL’s bankruptcy estate; (ii) the

Alleged Releases do not constitute waivers of Plaintiff’s right to collect upon the Excluded

Receivables; (iii) the Excluded Receivables constitute a “debt” within the meaning of the FDCPA;

and (iv) Plaintiff shall not be required to cease and desist collection efforts with respect to the

Excluded Receivables.

                                      COUNT IV
    (Avoidance of Constructively Fraudulent Transfer – Bankruptcy Code Sections 548
                                       and 550)

       115.    Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 114 of this Complaint as though fully set forth herein

       116.    In the alternative, the Liquidating Trustee seeks to avoid the Alleged Releases

pursuant to sections 548 and 550 of the Bankruptcy Code.

       117.    The transfer of the Alleged Releases to the Consumers represented a transfer of an

interest of HDL in property.

       118.    HDL did not receive reasonably equivalent value in exchange for the Alleged

Releases because what HDL received in exchange for the Alleged Releases was harmful to its

financial condition rather than economically beneficial.

       119.    As set forth herein, at the time of HDL’s transfers of the Alleged Releases to the

Consumers, HDL was insolvent or became insolvent as a result of such transfers, HDL was

engaged or about to engage in business for which its remaining assets and/or capital were

unreasonably small in relation to its business, and/or HDL intended to incur, or reasonably should

have believed that it would incur, debts beyond its ability to pay as they became due.




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        120.     At all relevant times, HDL had actual creditors holding unsecured claims allowable

within the meaning of Bankruptcy Code sections 502, including vendors, landlords, suppliers,

lenders and other creditors.

        121.     The Alleged Releases were made to or for the benefit of the Consumers.

        122.     HDL’s transfers of the Alleged Releases should be avoided pursuant to Bankruptcy

Code section 548.

        123.     Under Bankruptcy Code section 550, Plaintiff may avoid the Alleged Releases from

the Consumers as initial, immediate and/or mediate transferees.

                                      COUNT V
  (Avoidance of Constructively Fraudulent Transfer – Bankruptcy Code Sections 544(b)
                          and 550 and Va. Code Section 55-81)

        124.     Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 123 of this Complaint as though fully set forth herein.

        125.     In the alternative, the Liquidating Trustee seeks to avoid the Alleged Releases

pursuant to sections 544(b) and 550 of the Bankruptcy Code, and Section 55-81 of the Virginia

Code.

        126.     The transfer of the Alleged Releases to the Consumers represented a transfer of an

interest of HDL in property.

        127.     HDL did not receive consideration deemed valuable in law in exchange for entering

into and incurring obligations under the Alleged Releases because what HDL received in exchange

for the Alleged Releases was harmful to its financial condition rather than economically beneficial.

        128.     At the time the Alleged Releases were executed, HDL was insolvent as set forth in

detail herein.

        129.     The Alleged Releases were made to or for the benefit of the Consumers.




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       130.    HDL’s transfers of the Alleged Releases should be avoided pursuant to applicable

provisions of the Virginia Fraudulent Transfer Act, including Va. Code § 55-81, and Bankruptcy

Code sections 544(b) and 550.

       131.    Under Bankruptcy Code section 550, Plaintiff may avoid the Alleged Releases from

the Consumers as initial, immediate and/or mediate transferees.

                                      COUNT VI
  (Avoidance of Constructively Fraudulent Transfer – Bankruptcy Code Sections 544(b)
and 550, Rev. Code of Washington §§ 19.40.011, et seq., 24 Oklahoma Stat. Ann. §§ 112, et
              seq., and 12 Pennsylvania Consol. Stat. Ann. §§ 5101, et seq.)

       132.    Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 131 of this Complaint as though fully set forth herein.

       133.    In the alternative, HDL’s transfers of the Alleged Releases to Consumers located

in Washington, Oklahoma, and/or Pennsylvania, should be avoided pursuant to applicable

provisions of Rev. Code of Washington §§ 19.40.011, et seq., 24 Oklahoma Stat. Ann. §§ 112, et

seq., 12 Pennsylvania Consol. Stat. Ann. §§ 5101, et seq., and Bankruptcy Code sections 544(b)

and 550.

       134.    The transfer of the Alleged Releases to the Consumers represented a transfer of an

interest of HDL in property.

       135.    HDL did not receive reasonably equivalent value in exchange for the Alleged

Releases because what HDL received in exchange for the Alleged Releases was harmful to its

financial condition rather than economically beneficial.

       136.    As set forth herein, at the time of HDL’s transfers of the Alleged Releases to the

Consumers, HDL was insolvent or became insolvent as a result of such transfers, HDL was

engaged or about to engage in business for which its remaining assets and/or capital were




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unreasonably small in relation to its business, and/or HDL intended to incur, or reasonably should

have believed that it would incur, debts beyond its ability to pay as they became due.

       137.       At all relevant times, HDL had actual creditors holding unsecured claims allowable

within the meaning of Bankruptcy Code sections 502, including vendors, landlords, suppliers,

lenders and other creditors.

       138.       The Alleged Releases were made to or for the benefit of the Consumers.

       139.       Under Bankruptcy Code section 550, Plaintiff may avoid the Alleged Releases from

the Consumers as initial, immediate and/or mediate transferees.

                                      COUNT VII
  (Injunctive Relief – Bankruptcy Code Sections 105(a) and 362(k) and Bankruptcy Rules
                                    7001(7) and 7065)

       140.       Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 139 of this Complaint as though fully set forth herein.

       141.       Through the allegations set forth herein, Plaintiff has established prima facie cases

for a finding of contempt, tortious interference with contract, declaratory relief, and avoidance of

constructively fraudulent transfers, and therefore has demonstrated a high likelihood of success on

the merits.

       142.       Plaintiff and HDL’s estate will be irreparably harmed if the relief requested herein

is not granted.

       143.       There is no other adequate remedy at law other than the relief sought herein.

       144.       The balancing of the hardships weighs in favor of the Plaintiff, since Plaintiff will

be irreparably harmed if the relief requested herein is not granted, whereas Defendants retain the

right to move for relief from the automatic stay or file an adversary proceeding in this Court.

       145.       Pursuant to sections 105 and 362(k) of the Bankruptcy Code and Bankruptcy Rules

7001(7) and 7065, Plaintiff requests that the Court temporarily, preliminarily, and permanently

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enjoin the Defendants from interfering with the Collection Agreements, and the efforts of Plaintiff

to collect the Excluded Receivables.

                                VI.     PRAYER FOR RELIEF

       WHEREFORE, for the reasons set forth herein, Plaintiff respectfully requests that the

Court enter the following relief:

               1)      For Count I of this Complaint, an order holding the Defendants in contempt
                       of court for violating the automatic stay until such time as the Defendants
                       cease interfering with the collection of the Excluded Receivables, and all
                       other damages sustained by Plaintiff are reimbursed by the Defendants;

               2)      For Count II of this Complaint, orders temporarily, preliminarily, and
                       permanently enjoining the Defendants from interfering with the Collection
                       Agreements and the efforts of Plaintiff to collect the Excluded Receivables;

               3)      For Count III of this Complaint, declaratory judgment that (i) the Excluded
                       Receivables are property of HDL’s bankruptcy estate; (ii) the Alleged
                       Releases do not constitute waivers of Plaintiff’s right to collect upon the
                       Excluded Receivables; (iii) the Excluded Receivables constitute a “debt”
                       within the meaning of the FDCPA; and (iv) Plaintiff shall not be required
                       to cease and desist collection efforts with respect to the Excluded
                       Receivables;

               4)      For Count IV of this Complaint, in the alternative to Count III, awarding
                       Plaintiff judgment, pursuant to sections 544(b) and 550 of the Bankruptcy
                       Code, against the Consumers avoiding the Debtors’ transfers of the Alleged
                       Releases;

               5)      For Count V of this Complaint, in the alternative to Count III, awarding
                       Plaintiff judgment, pursuant to sections 544(b) and 550 of the Bankruptcy
                       Code and, as applicable, Va. Code § 55-81, against the Consumers avoiding
                       the Debtors’ transfers of the Alleged Releases;

               6)      For Count VI of this Complaint, in the alternative to Count III, awarding
                       Plaintiff judgment, pursuant to sections 544(b) and 550 of the Bankruptcy
                       Code and, as applicable, Rev. Code of Washington §§ 19.40.011, et seq., 24
                       Oklahoma Stat. Ann. §§ 112, et seq., and 12 Pennsylvania Consol. Stat.
                       Ann. §§ 5101, et seq., against the Consumers avoiding the Debtors’
                       transfers of the Alleged Releases;

               7)      For Count VII of this Complaint, orders temporarily, preliminarily, and
                       permanently enjoining the Defendants from interfering with the Collection
                       Agreements, and the efforts of Plaintiff to collect the Excluded Receivables;


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              8)     For costs of the suit incurred herein; and

              9)     That such other and further relief be awarded as this Court deems just and
                     appropriate.

Dated: August 3, 2016                           Respectfully submitted,

 /s/ Cullen D. Speckhart
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 Trustee of the HDL Liquidating Trust
                                                 Counsel to Richard Arrowsmith, Liquidating
                                                 Trustee, and the Liquidating Trust Oversight
                                                 Committee.




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                                       VERIFICATION

        I, Richard Arrowsmith, hereby verify, pursuant to 28 U.S.C. § 1746, that I am the
Liquidating Trustee of the HDL Liquidating Trust, that in my capacity as the Liquidating Trustee,
I am familiar with the business operations of the Debtors and the books and records of the Debtors,
that I have read the allegations set forth above in the Verified Complaint, and that to the best of
my information and belief such, representations are true and accurate. I declare under penalty of
perjury under the laws of the United States of America that the foregoing is true and correct.

                                                     By:     /s/ Richard Arrowsmith
                                                            Richard Arrowsmith
                                                            Liquidating Trustee of the HDL
                                                            Liquidating Trust
